Case 2:05-cr-20122-SH|\/| Document 30 Filed 06/03/05 Page 1 of 2 Page|D 32

IN THE UNITED sTATEs nlsTRicT COURT Fu£o ar _t§_€§/i. n.r;.
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JUH -3 PH 12= 143
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UNITED STATES oF AMERICA, §_!'[§‘_H§i< xii-§§ i;ii§’wipaié
k
Plaintiff,
iv
vs. Criminal No. 05-20122-D
1':
BRENDA C0LBERT,
'!r
Defendant.
ic
QM

Defendant Brenda Colbert has filed a motion styled “Motion to Suppress and Authorities in
Support Thereof.” Local Rule LCrRlZ.l(b) provides that “[m]otions to suppress shall be
supported by a memorandum of law and facts.” As the defendant has failed to comply with the
Local Rules, the Court orders the defendant to tile a memorandum complying with the local rules
within twenty (20) days of the entry of this order, or show cause Why the motion should not be

dismissed and stricken

DONE at Memphis, Tennessee, this SQ( day 0%312005.

 
 
   

ED STATES DISTRICT

This dochent entered on the docket sheet i%cor£ipliance
with Fmie 55 and/or 32{1:)) FFlCrP on '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

